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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    UNITED STATES,

                         v.                             Case No. 1:17-cr-00234-7 (TNM)

    ORLANDO BELL,
                         Defendant.


                                   MEMORANDUM ORDER

         An investigation of drug dealers in southeast Washington, D.C., led officers to stop a car

driven by Orlando Bell. They found a gun in his pants pocket and, during a later strip search,

discovered two bags of crack cocaine between his buttocks. A jury convicted Bell of possessing

the drugs with intent to distribute them and of possessing a gun during a drug trafficking offense.

         Bell now moves under 28 U.S.C. § 2255 to vacate his sentence. He argues that his

lawyers were ineffective and that he is entitled to certain evidence about his search. The Court

denies that motion because Bell has not shown that his lawyers were ineffective nor that he has

good cause for discovery.

                                                  I.

         In 2015, a task force led by the FBI began to investigate drug dealing in the Parkchester

Birney Place neighborhood. See Oct. 25, 2018 Trial Tr. (10/25/18 Tr.) at 11, ECF No. 202. 1

Through several coordinated purchases by an undercover officer, investigators identified Wayne

Holroyd as a supplier of crack cocaine to the neighborhood. See Oct. 24, 2018 Trial Tr.

(10/24/18 Tr.) at 168, ECF No. 201. Investigators wiretapped his phone, 10/25/18 Tr. at 19, and

heard conversations between him and Bell, id. at 45. During those calls, Bell would ask to meet



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    All page citations refer to the page numbers generated by the Court’s CM/ECF system.
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Holroyd and would reference quantities of things that Bell wanted Holroyd to give him. See,

e.g., Oct. 29, 2018 Trial Tr. (10/29/18 Tr.) at 88, ECF No. 203 (“Yo, I’m going to need another

one.”).

          In early March 2017, Bell asked for “two.” Id. at 93. FBI Special Agent Ben Bullington

positioned himself near a parking lot where Bell and Holroyd agreed to meet. See 10/25/18 Tr.

at 30. He saw a red Nissan pull in and leave about a minute later. See id. at 31. Bullington then

saw Holroyd drive away in a different car. See id. at 32. Bullington reported the Nissan to the

U.S. Park Police and asked them to stop the car because he suspected that the driver possessed

drugs. See id. at 50.

          Park Police Investigator Andrew Kenness and Officer Ryan McDermott stopped the

Nissan as it swerved between lanes on Interstate 695. See id. at 56. Bell was the driver and sole

occupant. See id. at 60. The officers asked him to step out of the car and then asked if he had

any weapons. See id. at 61. Bell replied, “I have a permit for it.” Id. At that point, the officers

patted him down. See id. at 62. They found a loaded handgun in his front pocket. See id. Based

on that discovery, the officers placed Bell under arrest and searched him more thoroughly. See

id. In his rear pocket, they found a magazine for the gun. See id.

          At some time during the search, Park Police Officer David LaGrossa arrived in another

cruiser. See id. at 80. When the officers tried to search Bell’s groin area, they noticed that “he

was clenching his buttocks.” Id. at 63. The officers decided to conduct a strip-search once they

got Bell to a police station. See id. Which officer drove him there is unclear. Keness testified

that he did not recall which officer transported Bell. See id. at 80. LaGrossa likewise did not

recall who took Bell from the scene but testified that he did not do so. See id. at 92.




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       The officers drove Bell to a Park Police station. See id. at 64. There, the officers

removed Bell’s clothing and found between his buttocks two plastic bags “containing a rock-like

substance.” Id. at 90. Combined, the bags held 6.27 grams of crack cocaine. See 10/29/18 Tr. at

85.

       To keep the investigation covert, the Government chose not to charge Bell immediately.

See 10/25/18 Tr. at 39. The investigation ended later in 2017, and a grand jury indicted Bell for

one count of conspiracy to distribute and possess with intent to distribute cocaine base, one count

of unlawful possession with intent to distribute cocaine base, and one count of using, carrying,

and possessing a firearm during a drug trafficking offense. See Indictment at 1, 15, ECF No. 1.

Officers arrested Bell in December 2017. See 10/25/18 Tr. at 36.

       Bell moved to suppress the drugs. See Mot. to Suppress, ECF No. 70. At a hearing on

that motion, Keness testified to the details of the search as described above. See Mot. Hr’g Tr. at

37–51, ECF No. 200. The Court found Keness “credible in all of his testimony,” id. at 52,

including that Bell had clenched his buttocks during the initial search, see id. at 54. Based on

these and other findings, the Court upheld the traffic stop, arrest, and strip search, and denied

Bell’s motion. See id.

       At trial, Kenness and LaGrossa testified about the stop and the search. The jury also

heard recordings of post-arrest calls from Bell to Holroyd in which Bell asked for more drugs.

See 10/25/18 Tr. at 34–35. And the jury heard testimony from Lorenzo Moore, a drug dealer in

the same neighborhood. Moore testified that he had sold drugs to Bell more than once in 2017.

See id. at 161–62. Finally, a detective from Prince William County, Virginia, testified that an

informant with his office had twice bought crack cocaine from Bell in November 2017. See

10/29/18 Tr. at 8–26. Bell neither testified nor presented evidence at trial.




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         The jury convicted Bell of unlawfully possessing crack cocaine and under 18 U.S.C.

§ 924(c)(1) of possessing a firearm in connection to a drug crime. See Oct. 31, 2018 Trial Tr. at

7–8, ECF No. 204. But the jury acquitted him of conspiracy. See id. The Court then sentenced

Bell to 130 months’ imprisonment. See Judgment at 3, ECF No. 175.

         On appeal, Bell argued that the Court should have denied a Government motion to amend

the indictment and should have granted his motion to suppress due to a lack of signatures on a

wiretap authorization. See United States v. Bell, 811 F. App’x 7, 7–8 (D.C. Cir. 2020). He also

challenged a two-level enhancement that the Court applied at sentencing. See id. at 9. The D.C.

Circuit affirmed the conviction and the sentence. See id. at 10.

         Now before the Court is Bell’s motion under 28 U.S.C. § 2255 to vacate his sentence.

See Mot. to Vacate, ECF No. 283 (Mot.). He filed the motion pro se. After the Government

responded, see Govt’s Mem. in Opp’n, ECF No. 289 (Opp’n), Bell replied with help of counsel,

see Reply, ECF No. 297 (Reply). The motion is now ripe. 2

                                                 II.

         Under § 2255, a federal prisoner may ask the sentencing judge to vacate, set aside, or

correct a sentence that was “imposed in violation of the Constitution or laws of the United

States,” was imposed “in excess of the maximum authorized by law, or is otherwise subject to

collateral attack[.]” 28 U.S.C. § 2255(a). Courts rarely grant these motions out of respect for the

finality of judgments and because defendants can raise most objections during trial or on direct

appeal. See United States v. Koumbairia, 17 F. Supp. 3d 81, 84 (D.D.C. 2014). To that end, a

prisoner usually may not bring under § 2255 a claim that he failed to bring during his direct

appeal. See Reed v. Farley, 512 U.S. 339, 354 (1994). Claims alleging ineffective assistance of



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    The Court has jurisdiction over this motion under 28 U.S.C. § 2255(a).


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counsel are an exception to that general rule. See Massaro v. United States, 538 U.S. 500, 509

(2003).

          When faced with a timely § 2255 motion, the Court generally must “grant a prompt

hearing [ ], determine the issues and make findings of fact and conclusions of law[.]” 28 U.S.C.

§ 2255(b). The Court need not conduct such an evidentiary hearing, however, when the record

of the case and the motion “conclusively show that the prisoner is entitled to no relief.” Id. And

because this Court presided over Bell’s trial, it has wider discretion to deny his motion without a

hearing. See United States v. Morrison, 98 F.3d 619, 625 (D.C. Cir. 1996).

                                                   III.

          Bell says that his trial and appellate counsel were ineffective and that he is entitled to

discovery about the officers’ search of him. The Court first considers his ineffective-assistance

claims and then his request for discovery. One of his ineffective-assistance claims fits more

comfortably with his discovery request and thus the Court addresses them together. The Court

concludes with a discussion of the relationship between Bell’s trial and appellate counsel.

                                                    A.

          The Sixth Amendment guarantees the right to effective assistance of counsel during trials

and appeals. See Strickland v. Washington, 466 U.S. 668, 686 (1984). To establish ineffective

assistance, a defendant must show (1) that counsel’s performance was deficient and (2) that

counsel’s performance prejudiced the defense. See id. at 687. Both prongs require their own

showings. For deficiency, a defendant must show that counsel’s performance fell below “an

objective standard of reasonableness” as defined by “prevailing professional norms.” United

States v. Abney, 812 F.3d 1079, 1086 (D.C. Cir. 2016) (cleaned up). This “first prong sets a high

bar.” Buck v. Davis, 137 S. Ct. 759, 775 (2017).




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       The second prong is similarly “substantial.” Cullen v. Pinholster, 563 U.S. 170, 189

(2011) (cleaned up). For prejudice, the defendant must show “a reasonable probability that, but

for counsel’s unprofessional errors, the result of the proceeding would have been different. A

reasonable probability is a probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694. Because failure to meet either prong will doom a defendant’s claim,

the Court need not reach both prongs. See United States v. Brinson-Scott, 714 F.3d 616, 623

(D.C. Cir. 2013).

                                                1.

       The Court starts with the low-hanging fruit. Bell faults his trial and appellate counsel for

their failure to argue that his gun conviction was unconstitutional under United States v. Davis,

139 S. Ct. 2319 (2019). See Mot. at 4, 5. This is a non-starter. Davis invalidated on vagueness

grounds convictions for possession of a gun in connection with a “crime of violence” as defined

by 18 U.S.C. § 924(c)(3)(B). See Davis, 139 S. Ct. at 2336. Bell’s jury convicted him of gun

possession in connection with a “drug trafficking crime,” see Judgment at 2, which has its own

statutory definition that Davis did not consider, see 18 U.S.C. § 924(c)(2). In short, Davis does

not affect Bell’s conviction. Any failure by his lawyers to raise that case thus would not change

the outcome of his trial or appeal.

       Likewise, Bell appears to argue that his appellate counsel acted improperly when she

failed to argue that his conviction under § 924(c) violated the Fifth Amendment’s Due Process

Clause and the separation of powers. See Mot. at 8. This argument is meritless—no court has

invalidated § 924(c) on those grounds. See Opp’n at 15–16 (collecting cases). Appellate counsel




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“is not ineffective for declining to pursue a losing argument.” Johnson v. Wilson, 960 F.3d 648,

656 (D.C. Cir. 2020) (cleaned up). 3

                                                    2.

       Bell’s claim that his trial counsel prevented him from testifying is harder. According to

Bell, his testimony would have challenged the officers’ story about who transported him to the

police station, see Mot. at 16, and would have asserted that the officers planted the drugs on him,

see Reply at 4. But Bell’s trial counsel allegedly blocked his testimony and threatened him “with

a mental evaluation” if he testified. Mot. at 16.

        As a criminal defendant, Bell had the absolute right to testify in his own defense. See

Rock v. Arkansas, 483 U.S. 44, 52 (1987). When raised in an ineffective-assistance claim,

however, a defendant’s failure to testify does not per se create prejudice. See United States v.

Tavares, 100 F.3d 995, 998 (D.C. Cir. 1996). Instead, the Court “assign[s] special significance

to the defendant’s precluded right to testify” and “inquire[s] whether it is reasonably probable

that the defendant’s testimony would have changed the outcome of the trial in his favor.” Id.

       Bell’s testimony would not have changed the outcome here. Consider first his intended

attack on the officers’ credibility. Bell says that neither Keness nor LaGrossa transported him to

the station. See Mot. at 7. But neither officer testified otherwise. They could not recall exactly

who transported Bell to the station, but LaGrossa testified that he did not do so. Thus, under all

versions—including Bell’s—McDermott could have transported Bell. See 10/25/18 Tr. at 80,

92. His testimony would not have added much on that factual detail, nor would it have rebutted


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  If Bell raises a freestanding claim that his conviction violates due process and separation of
powers, he never made that claim on direct appeal, preventing any consideration of it now. See
Reed, 512 U.S. at 354. And even if appellate counsel’s failure to raise it constitutes “cause” for
Bell’s default, he still must show “actual prejudice from the alleged violation.” Id. (cleaned up).
Because the argument is meritless, he cannot show prejudice.


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the other evidence about Bell’s involvement in the drug business, particularly his call that day to

Holroyd asking for “two.” 10/29/18 Tr. at 93.

       Indeed, regardless of content, Bell’s testimony likely would have hurt his defense. Had

he testified, the Government would have cross-examined him about his actions and the strong

evidence of his guilt, none of which he contests now. See Brown v. United States, 356 U.S. 148,

155 (1958). That evidence includes the various phone calls and text messages from Bell to

Holroyd and Moore seeking drugs, the observed drug transactions in Virginia, and his possession

of a gun when police stopped him. The Government would have emphasized all of this and

attacked Bell’s credibility in other ways. Recall also that the jury acquitted Bell of conspiracy.

Cross-examination about his knowledge of and dealings with Holroyd easily could have

complicated his defense on that count and might have led to a worse verdict, not one “in his

favor.” Tavares, 100 F.3d at 998; see also United States v. Blackson, 236 F. Supp. 3d 1, 8

(D.D.C. 2017) (finding no ineffective assistance where defendant’s testimony “would have a

negative impact because the government could introduce more bad character evidence against

him” (cleaned up)).

       More, the trial record firmly rebuts Bell’s assertion that defense counsel forced him not to

testify. When questioned by the Court, Bell affirmed that he had “voluntarily decided not to

testify” and understood that he alone “control[led] this decision.” 10/29/18 Tr. at 44. The Court

credited those representations and still does. And Bell confirmed his assertion with a signed

waiver form. See ECF No. 108. At no time did Bell suggest or hint that his lawyer had coerced

him not to testify. The Court is unpersuaded by his last-ditch efforts now to impeach his own

statements.




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       On this record, therefore, Bell has not shown that his counsel’s error, if any, caused him

prejudice. His testimony likely would have hurt his case, not helped it, “given the facts of the

case.” Tavares, 100 F.3d at 999.

                                                 3.

       Last among his freestanding ineffective-assistance claims, Bell challenges trial counsel’s

actions in relation to a possible plea deal. The Government extended a plea offer for Bell to

plead guilty only to the gun charge. See Mot. Hr’g Tr. at 67. Bell declined. See id. He now

says that he declined because he believed a trial would force the Government to produce body-

worn camera footage showing the officers planting drugs on Bell. See Reply at 5. But the Park

Police did not wear body-worn cameras at the time, see Reply, Ex. B, ECF No. 297-2, so the

Government had no footage to produce. Bell says that if counsel had properly investigated and

learned about the lack of that footage, Bell would have accepted the plea offer. See Reply at 5.

       Because this claim first appears in Bell’s reply brief, he has forfeited it. See Waters v.

Lockett, 896 F.3d 559, 572 (D.C. Cir. 2018); In re Asemani, 455 F.3d 296, 300 (D.C. Cir. 2006).

But even if the Court entertained it, Bell’s theory remains fanciful. The Court found credible the

testimony that he clenched his buttocks when searched. See Mot. Hr’g Tr. at 54. Under Bell’s

facts, then, officers invasively placed drugs in his buttocks after they observed him clenching up.

That they needed to plant drugs is highly improbable given Bell’s other drug dealings in the

neighborhood and in Virginia. And investigators heard Bell ask Holroyd for “two” that day, saw

them meet at and leave the same parking lot, and found two bags of drugs in Bell’s buttocks.

And, of course, body-worn cameras do not record continuously but only when activated by the

officer. The idea that officers would have chosen to activate their non-existent cameras to record

their illegal planting of drugs in Bell’s buttocks is beyond absurd. Bell’s claim here is nothing




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but an attempt at a do-over in light of his trial conviction. Even if Bell had not forfeited this

claim, the Court would reject it as an insincere attempt to re-wind the clock to lessen his

exposure.

                                                  B.

       Now for Bell’s discovery request. As a habeas petitioner, he has no entitlement to

discovery. See Bracy v. Grimley, 520 U.S. 899, 904 (1997). Instead, federal rules allow

discovery when a petitioner shows “good cause” for his request. See Rule 6(a) of the Rules

Governing § 2254 Cases and § 2255 Proceedings in the U.S. District Courts. For good cause, a

petitioner must make “specific allegations” showing that, “if the facts are fully developed,” the

Court has reason to believe he is entitled to relief. Bracy, 520 U.S. at 908–909 (cleaned up).

And a petitioner must present more than “[m]ere speculation” that discoverable material exists.

Strickler v. Greene, 527 U.S. 263, 286 (1999).

       For his trial, Bell wanted the video of his arrest and searches. So his trial counsel asked

the Government for footage from the officers’ body-worn cameras and from the police station.

See Mot. at 14. The Government responded by email that it did not know whether any such

footage existed but would check. See id. Bell now asks for “all video-footage of arresting

officers.” Id. at 8. Construed broadly, that request applies to footage from body-worn cameras

and from the police station.

       Neither request meets the good cause standard. Recall that Park Police officers did not

have body-worn cameras at the time. See Reply, Ex. B. Bell thus makes no showing that the

footage even exists. Ditto for the police station video. He merely speculates about its existence,




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which does not suffice for good cause. 4 See Strickler, 527 U.S. at 286. More, even if station

video existed, it would not support Bell’s theory. He alleges that officers planted the drugs “in

the backseat” of the car during transport to the station, not once they arrived there. Mot. at 16.

Footage from the station thus would not show any officer planting the drugs. Instead, according

to both his theory and the Government’s, this video would show officers finding drugs secreted

on his person: inculpatory—not exculpatory—evidence. Bell therefore makes no allegation that

the video, if it exists, would show “that he is entitled to relief.” Bracy, 520 U.S. at 909 (cleaned

up).

       For the same reasons, Bell’s lawyer was not ineffective for his failure to obtain this

evidence. 5 See Mot. at 16 (faulting counsel for “fail[ing] to suppress alleged contraband”). The

body-worn footage did not exist, so counsel did not act deficiently when he failed to get it. See

Brooks v. United States, No. 17-5705, 2018 WL 3105402, at *5 (6th Cir. Jan. 22, 2018) (unpub.,

per curiam). And even if the station footage existed, it captured actions taken after Bell says the

officers planted drugs on him. The result of the suppression hearing thus “would [not] have been

different” had it included that footage. Cullen, 563 U.S. at 189 (cleaned up). By the same token,

Bell’s appellate counsel was not ineffective for failing to seek this evidence or pursue the “losing

argument” that its absence mandated reversal of his conviction. Johnson, 960 F.3d at 656.




4
  Bell’s speculation also fails to rebut the presumption that Government counsel “properly
discharged their official duties” and did check whether any footage existed. Bracy, 520 U.S. at
909 (cleaned up).
5
  Bell also says that his lawyer should have filed a motion for this evidence rather than simply
email a request to the Government. See Mot. at 8. Of course, a motion to the Court is no more
successful when the requested evidence does not exist.


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                                                C.

       One final argument permeates many of Bell’s statements and thus deserves separate

mention. Bell’s appellate counsel, Mary Davis, is his trial counsel’s wife. See Pro Se Reply at

3, ECF No. 297-1 (Pro Se Reply). Bell argues that she “was unwilling to challenge any” alleged

error by Christopher Davis because of their relationship. Mot. at 7. Stated simply, she “ha[d] a

conflict of interest” during Bell’s appeal. Pro Se Reply at 3.

       This claim arises under a different framework than the mine run of ineffective-assistance

claims. So-called “conflict of interest” challenges avoid Strickland’s “more stringent two-part

test.” United States v. Gantt, 140 F.3d 249, 254 (D.C. Cir. 1998). Instead, the applicable test

comes from Cuyler v. Sullivan, 446 U.S. 335 (1980). Under Cuyler, a defendant succeeds if he

shows that “an actual conflict of interest adversely affected his lawyer’s performance.” Id. at

348. “Where a defendant meets the Cuyler test, prejudice is presumed.” Gantt, 140 F.3d at 254.

       D.C. Circuit precedent leads to the inescapable conclusion that an actual conflict existed.

The court recently held that Mary Davis had a conflict when her client’s interest required her on

habeas review to assert the ineffectiveness of her husband (and herself) during trial. See United

States v. Scurry, 992 F.3d 1060, 1069–70 (D.C. Cir. 2021) (per curiam). So too here—her

appellate representation forced her to “make a choice advancing [her] own interests,” namely her

loyalty to her husband, “to the detriment” of Bell’s interest on appeal. United States v. Bruce, 89

F.3d 886, 893 (D.C. Cir. 1996) (cleaned up).

       To show that the conflict adversely affected his appeal, however, Bell “must articulate a

strategy that a reasonable, nonconflicted defense counsel would have pursued.” United States v.

Tucker, 12 F.4th 804, 819 (D.C. Cir. 2021) (per curiam). Bell fails this standard because he

identifies only meritless strategies. He first says that Mary Davis should have argued that United




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States v. Davis invalidated his conviction. See Mot. at 5; Pro Se Reply at 3, 5, 6, 7. But recall

that this decision did not apply to Bell’s conviction. Second, he faults Mary Davis for not

arguing that her husband had ineffectively blocked Bell’s testimony. See Mot. at 7; Pro Se

Reply at 3. Again, this Court has explained that such a claim fails the Strickland test given

Bell’s on-the-record statements and the risk that cross-examination would damage Bell’s

credibility. So although Mary Davis had a conflict, Bell has identified no “legitimate argument”

that she failed to make on appeal because of that conflict. Bruce, 89 F.3d at 896 (emphasis

added).

          Of course, Mary Davis could have raised an ineffective-assistance claim against her

husband on some other basis. See United States v. Rashad, 331 F.3d 908, 909 (D.C. Cir. 2003)

(allowing such claims on direct appeal). But Bell identifies no argument that would make any

such claim a “potential avenue of relief.” Scurry, 992 F.3d at 1068. Indeed, based on Bell’s

arguments now, no attorney “would have acted differently” on appeal than Mary Davis did.

Gantt, 140 F.3d at 254.

          Because Mary Davis’s conflict did not adversely affect her representation of Bell, her

conflict of interest does not create a Sixth Amendment violation.

                                              *   *    *

          Finally, Bell asks for an evidentiary hearing. See Reply at 2. The Court need not

convene one because, for the reasons discussed, the relevant materials “conclusively show” that

Bell has no right to relief. 28 U.S.C. § 2255(b). He entirely “fails to allege sufficient facts or

circumstances” that show “constitutionally deficient performance.” United States v. Taylor, 139

F.3d 924, 933 (D.C. Cir. 1998) (cleaned up). And factually he presents no affidavits and barely

any evidentiary support for the statements in his motion. See United States v. Flowers, 281 F.




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Supp. 3d 166, 182 (D.D.C. 2018). More, this Court presided over Bell’s trial and thus may

comfortably deny a hearing given its own familiarity with the case and the trial record. See

United States v. Gooch, 842 F.3d 1274, 1280 n.3 (D.C. Cir. 2016) (allowing wider discretion to

deny a hearing when same judge who presided over trial also adjudicates § 2255 motion).

                                               IV.

       For these reasons, Bell’s [283] Motion to Vacate is DENIED. The Clerk of Court is

requested to close Case No. 1:21-cv-02425, the civil case based on Bell’s motion.



       SO ORDERED.
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Dated: June 18, 2022                                 TREVOR N. McFADDEN, U.S.D.J.




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